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                                     ACCOUNT INDEX
         ACCOUNT NAME         ABBREVIATION       ACCOUNT HOLDER/BENEFICIARY
   Prosperity ‘7188             Account 1     Posting Solutions
   Compass Bank    ‘3873        Account 2     Cereus Properties
   Compass ‘4862                Account 3     Cereus
   First Federal Savings                      Lacey
   and   Loan-San Rafael        Account 4
   ‘3620
   Rep. Bank of AZ ‘2485        Account 5     Lacey
   Rep. Bank of AZ ‘1897        Account 6     Lacey
   Rep. Bank of AZ ‘3126        Account 7     Lacey
   Rep. Bank of AZ ‘8316        Account 8     Lacey
   Rep. Bank of AZ ‘8324        Account 9     Lacey
   RBA ‘8332                   Account 10     Lacey
   SF fire ‘2523               Account 11     Lacey
   Midfirst ‘4139 (Money                      John Becker for Lacey
                               Account 12
   Gram Cashier’s Check)
   Rep. Bank of AZ ‘1889       Account 13     Larkin
   Rep. Bank of AZ ‘2592       Account 14     Larkin
   Rep. Bank of AZ ‘1938       Account 15     Larkin
   Rep. Bank of AZ ‘8103       Account 16     Larkin
   Rep. Bank of AZ ‘8162       Account 17     Larkin
   Rep. Bank of AZ ‘8189       Account 18     Larkin
   Perkins Coie ‘0012
   (Funds)                     Account 19
                                              Margaret Larkin
   Perkins Coie ‘0012
   (Investment)                Account 20




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   Acacia Cons. Funds ‘
                               Account 21     Ocotillo Family Trust
   2020
   Bank of America ‘8225       Account 22     Troy Larkin
   Bank of America ‘7054       Account 23     Ramon Larkin
   BBVA Compass '3825          Account 24     Brunst
   All/Bernstein ‘6878         Account 25     Brunst Family Trust
   All/Bernstein ‘4954         Account 26     Brunst Family Trust
   All/Bernstein ‘7982         Account 27     Brunst Family Trust
   All/Bernstein ‘7889         Account 28     Brunst Family Trust
   All/Bernstein ‘7888         Account 29     Brunst Family Trust
   All/Bernstein ‘6485         Account 30     Brunst Family Trust
   Nat’l Bank of AZ                           Spear
                               Account 31
   ‘0178
   Nat’l Bank of AZ                           Scott and Ellona Spear
                               Account 32
   ‘0151
   Nat’l Bank of AZ                           Scott and Ellona Spear Family
                               Account 33
   ‘3645                                      Trust
   Rep. Bank of AZ ‘8189       Account 18     Larkin
   Nat’l Bank of AZ                           Scott and Ellona Spear Family
                               Account 34
   ‘6910                                      Trust
   Ascensus ‘4301              Account 35     Natasha Spear
   Ascensus ‘8001              Account 36     Natasha Spear
   K&H    ‘1210 (Hungary)      Account 37     Primus Trust
   Fio ‘2226 (Czech)           Account 38     Gold Leaf
   Fio    ‘2231 (Czech)        Account 39     Gold Leaf
   Fio ‘2230 (Czech)           Account 40     Gold Leaf
   Fio ‘4194 (Czech)           Account 41     Protecctio
   Fio ‘4196 (Czech)           Account 42     Protecctio



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   Fio ‘4198 (Czech)           Account 43     Protecctio
   Fio ‘8083 (Czech)           Account 44     Varicok
   Nat’l Bank of AZ                           Scott and Ellona Spear Family
                               Account 34
   ‘6910                                      Trust
   Fio ‘8086 (Czech)           Account 45     Varicok
   Fio ‘8080 (Czech)           Account 46     Varicok
   Frick ‘K000 K                              Ad Tech BV
                               Account 47
   (Liechtenstein)
   Frick ‘K000 U                              Ad Tech BV
                               Account 48
   (Liechtenstein)
   Frick ‘K000 E                              Ad Tech BV
                               Account 49
   (Liechtenstein)
   Frick ‘K001 K                              Ad Tech BV
                               Account 50
   (Liechtenstein)
   Knab Bank ‘7664                            Procop
                               Account 51
   (Netherlands)
   Rabo Bank ‘2452                            Gulietta
                               Account 52
   (Netherlands)
   Rabo Bank ‘4721                            UniversAds
                                Account 53
   (Netherlands)
   LHV Pank    ‘4431                          Olist Ou
                               Account 54
   (Estonia)
   Saxo Payments ‘1262                        Cashflows
                               Account 55
   (United Kingdom)
   Fio ‘5803 (Czech)           Account 56     Ad Tech BV
   Fio ‘5801 (Czech)           Account 57     Ad Tech BV
   Fio ‘5805(Czech)            Account 58     Ad Tech BV




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